                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
           Plaintiff,                            )
                                                 )   No. 19 CR 567
-vs-                                             )
                                                 )   Hon. Martha M. Pacold
ROBERT SYLVESTER KELLY,                          )
also known as “R.Kelly,”                         )
              Defendant.                         )

THIRD SUPPLEMENT TO EMERGENCY MOTION FOR TEMPORARY FURLOUGH

       COMES NOW Defendant, Robert Sylvester Kelly, by and through counsel, Beau B.

Brindley, and hereby provides a supplement to his emergency motion for temporary furlough. In

support of his motion, Mr. Kelly provides as follows:

       Mr. Kelly only wishes that he could wait until the filing of his reply to the government’s

response regarding jurisdiction before making another submission to the Court. 1 However, the

conduct of the Bureau of Prisons and the worsening threat to Mr. Kelly’s well-being does not afford

him that luxury. While the allegations made by Mikeal Glenn Stine were shocking, the events that

have transpired since the filing of Mr. Kelly’s motion for temporary furlough are equally stunning,

but yet undeniable. When combined with what has already been asserted, the recent events plainly

support Mr. Stine’s accusation that Bureau of Prisons officers are seeking to kill Robert Kelly to

cover up crimes committed in the investigation of his case.




1 Efforts are presently being made to obtain pro hac vice status to file the motion for temporary

and all following supplements in Mr. Kelly’s New York case in New York. His motion to vacate
convictions on the basis of newly discovered evidence is on an accelerated schedule and will be
filed imminently.



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       Government counsel responded to Mr. Kelly’s motion with words like fanciful and

theatrical. They can use whatever words they like. The problem for the government is that the

allegations in Mr. Kelly’s motion are not his. They are the allegations of people who participated

in crimes committed by government officials in the effort to make federal cases against R. Kelly,

and in a plot to take Mr. Kelly’s life as a means of covering up those crimes. For those who doubt

the idea that Bureau of Prisons Officers seek to harm Mr. Kelly, the recent events described below

will replace skeptical doubt with stunned recognition of an undeniable reality: Mr. Kelly’s life is

in danger and the threat comes from Bureau of Prisons officers whose duty is to protect him.

       As we have indicated, Mr. Kelly was sent to solitary confinement against his will shortly

after the filing of his motion. A legal call with his attorney was cancelled without explanation.

Questions about his physical well-being went unanswered. On June 16, 2025, the reasons became

apparent. Finally able to speak to Mr. Kelly by phone, the undersigned learned the following

shocking revelations. Mr. Kelly went into solitary confinement with his medications in his

possession on June 10, 2025. He takes medication for anxiety and to help him sleep, in addition

to other medications. While in solitary confinement, prison staff approached him, and he showed

them the medications in his possession. This will appear on camera footage from the institution.

Later in the evening, personnel came to Mr. Kelly’s cell and provided him with additional

medication and instructions to take it. This too will be captured on camera. Mr. Kelly took the

medication as directed. This was on June 12, 2025, after the undersigned filed a document

revealing the solitary confinement conditions experienced by Mr. Kelly.

       In the early morning hours of June 13, 2025, Mr. Kelly awoke. He felt faint. He was dizzy.

He started to see black spots in his vision. Mr. Kelly tried to get up, but fell to the ground. He

crawled to the door of the cell and lost consciousness. He was placed on a gurney. Prison officials




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wanted him to be taken to the on-site medical facility, but staff there could not assist him.

Consequently, Mr. Kelly was taken by ambulance to nearby Duke University Hospital. While in

the ambulance, he heard one of the prison officers with him state: “this is going to open a whole

new can of worms.” At the hospital, Mr. Kelly learned that he had been administered an overdose

quantity of his medications that threatened his life. He required hospitalization for two days to

treat it. That means that, within two days of the filing of his motion, Bureau of Prisons officials

administered an amount of medication that significantly exceeded a safe dose and caused Mr. Kelly

to overdose, putting his life in jeopardy. They gave him an amount of medicine that could have

killed him.

       Unfortunately, administering an overdose quantity of medication to Mr. Kelly just days

after his exposure of a Bureau of Prisons plot to kill him is not the end of the B.O.P. actions that

put his life in jeopardy. It actually gets much worse. For many months now, Mr. Kelly has been

seeking medical attention for an obviously swollen leg. He has a history of blood clots 2 and has

been worried about further clots forming. Earlier this year, Mr. Kelly received what was supposed

to be a scan for blood clots. He was then told by prison medical staff that they were only authorized

to advise him that he would no longer be receiving blood thinners. He was taken off of blood

thinners at that time. This was within the past approximately three months.

       At Duke University Hospital, Mr. Kelly showed the doctors his leg. He shared his fears

and concerns. The hospital did a scan for blood clots. That scan revealed blood clots in his right

leg, blood clots in his left leg, and blood clots in his lungs. The hospital indicated he would need

to be kept for 7 days and scheduled for a surgery to clear the clots. He was immediately placed



2 Mr. Kelly’s blood clots began after the BOP mishandled his recovery from surgery to repair his

Achilles tendon and failed to return Mr. Kelly to the operating hospital to remove his leg cast
within the timeframe ordered by medical professionals.


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back on blood thinners that Butner medical staff discontinued. When advised he required surgery

and needed to be kept for two weeks, officers assigned to Mr. Kelly in the hospital contacted the

officials at Butner. Within an hour, officers with guns came into his hospital room and removed

Mr. Kelly. He was taken from the hospital against his will and against the directives of the doctors.

He was denied the surgery he needs to clear blood clots in his lungs that threaten his life. This

happened. This will be confirmed by hospital records. It is undeniable. Mr. Kelly’s life is in

jeopardy right now because the Bureau of Prisons denied him necessary surgery to clear clots from

his lungs. He could die from this condition, and they are letting it happen. There is no legitimate

explanation for that.

       And what did the Bureau of Prisons officials do with an inmate just diagnosed with multiple

blood clots at an outside hospital who needs surgical intervention? They took him out of the

hospital and returned him to solitary confinement, not even to the Butner medical facility. Mr.

Kelly reports it is extremely cold in solitary confinement. He has requested an extra blanket and

was told only: “The captain says no.” Mr. Kelly was on the phone with the undersigned today in

tears, afraid that they will kill him or let him die. Tragically, he has every reason to feel that way.

The conduct of the Bureau of Prisons gives him every reason to feel that way.

       It is useful to juxtapose the declaration of Mikeal Stine with the conduct of the Bureau of

Prisons officials since that declaration became public. He exposed what he indicated was a Bureau

of Prisons plot to kill Mr. Kelly in order to cover up crimes committed by D.O.J. and Bureau of

Prisons officials during the investigation of his cases. This raised shock and skepticism from some.

The Bureau of Prisons officials responded to his allegations by (1) putting Mr. Kelly into solitary

confinement against his will; (2) overdosing him on prescription medications administered by

prison staff; and (3), removing him from the hospital where they intended to perform surgery to




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clear blood clots that threaten his life. All of this is verifiable through medical records we will

obtain. So, Mr. Kelly says to the government: how fanciful do Mr. Stine’s claims sound now? It

was not theatrics that took Mr. Kelly off of the blood thinners that he needed. It was not theatrics

that provided him with an overdose of medication. It was not theatrics that denied him necessary

surgery on blood clots in his lungs and legs, which threaten his life at his minute. Bureau of Prisons

officials did all of that on their own. And they did it within days of Mr. Stine’s declaration going

public. Those plain facts speak a lot louder than anything government counsel has to say. And

they give one message loud and clear: Mr. Kelly’s life is in danger, and that danger is coming from

Bureau of Prisons officials and their actions. Mr. Kelly needs this Court’s intervention. His life

actually depends on it.

       WHEREFORE, Mr. Kelly respectfully requests that this Honorable Court order a

temporary furlough to home detention.

                                                              Respectfully submitted,

                                                              By: /s/ Beau B. Brindley
                                                              Attorney for the Defendant
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